Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 1 of 17 PageID #: 271
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 2 of 17 PageID #: 272
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 3 of 17 PageID #: 273
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 4 of 17 PageID #: 274
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 5 of 17 PageID #: 275
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 6 of 17 PageID #: 276
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 7 of 17 PageID #: 277
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 8 of 17 PageID #: 278
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 9 of 17 PageID #: 279
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 10 of 17 PageID #: 280
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 11 of 17 PageID #: 281
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 12 of 17 PageID #: 282
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 13 of 17 PageID #: 283
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 14 of 17 PageID #: 284
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 15 of 17 PageID #: 285
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 16 of 17 PageID #: 286
Case 1:22-cr-00143-WFK Document 118 Filed 05/13/24 Page 17 of 17 PageID #: 287
